     Case 13-50747         Doc 22      Filed 01/03/19 Entered 01/03/19 13:24:56                  Desc Main
                                         Document     Page 1 of 8



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

       In re: Moen, Gerald L                                             §   Case No. 13-50747-RJK
              Moen, Lynn M                                               §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       Nauni Jo Manty                             , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             U.S. Bankruptcy Court - Duluth
             404 U.S. Courthouse
             515 West First St.
             Duluth, MN 55802

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       together with a request for a hearing and serve a copy of both upon the trustee, any party whose
       application is being challenged and the United States Trustee. If no objections are filed, the
       Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
       without further order of the Court.


      Date Mailed: 01/02/2019                    By: /s/ Nauni Manty
                                                                                  Trustee
       Nauni Jo Manty
       401 Second Avenue North
       Suite 400
       Minneapolis, MN 55401
       (612) 465-0990




UST Form 101-7-NFR (10/1/2010)
            Case 13-50747             Doc 22 Filed 01/03/19 Entered 01/03/19 13:24:56                                       Desc Main
                                               Document     Page 2 of 8
                                      UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF MINNESOTA

              In re: Moen, Gerald L                                                          §       Case No. 13-50747-RJK
                     Moen, Lynn M                                                            §
                                                                                             §
        Debtor(s)                                                                            §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $          60,087.97

                     and approved disbursements of                                               $          35,333.80
                                                            1
                     leaving a balance on hand of                                                $          24,754.17

                                                          Balance on hand:                                   $              24,754.17
                Claims of secured creditors will be paid as follows:

Claim           Claimant                                       Claim Allowed Amount Interim Payments                          Proposed
No.                                                          Asserted       of Claim          to Date                         Payment
                                                                 None
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              24,754.17

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                          Total Requested Interim Payments                   Proposed
                                                                                                    to Date                  Payment
Trustee, Fees - Nauni Jo Manty                                                      2,140.38                     0.00          2,140.38
Trustee, Expenses - Nauni Jo Manty                                                      77.43                    0.00             77.43
Charges, U.S. Bankruptcy Court                                                        260.00                     0.00            260.00
                                 Total to be paid for chapter 7 administration expenses:                     $               2,477.81
                                 Remaining balance:                                                          $              22,276.36




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

   UST Form 101-7-NFR (10/1/2010)
           Case 13-50747         Doc 22      Filed 01/03/19 Entered 01/03/19 13:24:56                  Desc Main
                                               Document     Page 3 of 8
               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $               0.00
                             Remaining balance:                                             $          22,276.36

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
                                                        None
                                                 Total to be paid for priority claims:      $               0.00
                                                 Remaining balance:                         $          22,276.36
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 10,904.22 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Essentia Health                                           886.41                 0.00         886.41
  2            Capital One Bank (USA), N.A.                            3,136.49                 0.00       3,136.49
  3            Wells Fargo Bank, N.A.                                  2,660.47                 0.00       2,660.47
  4            Capital One, N.A.                                       2,058.64                 0.00       2,058.64
  5            Capital One, N.A.                                          76.09                 0.00          76.09
  6            Portfolio Recovery Associates, LLC                      2,086.12                 0.00       2,086.12
                             Total to be paid for timely general unsecured claims:          $          10,904.22
                             Remaining balance:                                             $          11,372.14




  UST Form 101-7-NFR (10/1/2010)
           Case 13-50747         Doc 22      Filed 01/03/19 Entered 01/03/19 13:24:56                 Desc Main
                                               Document     Page 4 of 8
            Tardily filed claims of general (unsecured) creditors totaling $ 45.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 100.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
  7            Essentia Health                                           45.00                0.00             45.00
                            Total to be paid for tardy general unsecured claims:          $                  45.00
                            Remaining balance:                                            $              11,327.14


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
                                                       None
                                                Total to be paid for subordinated claims: $                   0.00
                                                Remaining balance:                        $              11,327.14

              To the extent funds remain after payment in full of all allowed claims, interest will be
        paid at the legal rate of 0.6% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest
        are $143.97. The amounts proposed for payment to each claimant, listed above, shall be
        increased to include the applicable interest.

              The amount of surplus returned to the debtor after payment of all claims and interest is
        $ 11,183.17.




  UST Form 101-7-NFR (10/1/2010)
      Case 13-50747          Doc 22      Filed 01/03/19 Entered 01/03/19 13:24:56                      Desc Main
                                           Document     Page 5 of 8


                                          Prepared By: /s/Nauni Jo Manty
                                                                                       Trustee

       Nauni Jo Manty
       401 Second Avenue North
       Suite 400
       Minneapolis, MN 55401
       (612) 465-0990


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010)
             Case 13-50747         Doc 22      Filed 01/03/19 Entered 01/03/19 13:24:56                 Desc Main
                                                 Document     Page 6 of 8




                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

IN RE: GERALD L MOEN                                            CASE NO: 13-50747
       LYNN M, MOEN                                             DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 1/3/2019, I did cause a copy of the following documents, described below,
Notice of Trustee's Final Report and Applications for Compensation and Deadline to Object (NFR)




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 1/3/2019
                                                          /s/ Nauni J. Manty
                                                          Nauni J. Manty 230352
                                                          Manty & Associates, P.A.
                                                          401 Second Avenue North, Ste 400
                                                          Minneapolis, MN 55401
                                                          612 465 0954
                 Case 13-50747           Doc 22       Filed 01/03/19 Entered 01/03/19 13:24:56                       Desc Main
                                                        Document     Page 7 of 8




                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF MINNESOTA

 IN RE: GERALD L MOEN                                                   CASE NO: 13-50747
        LYNN M, MOEN
                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 1/3/2019, a copy of the following documents, described below,

Notice of Trustee's Final Report and Applications for Compensation and Deadline to Object (NFR)




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 1/3/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Nauni J. Manty
                                                                            Manty & Associates, P.A.
                                                                            401 Second Avenue North, Ste 400
                                                                            Minneapolis, MN 55401
             Case AS
PARTIES DESIGNATED 13-50747      DocNOT
                      "EXCLUDE" WERE  22 SERVED
                                           FiledVIA
                                                  01/03/19
                                                    USPS FIRST Entered   01/03/19 13:24:56 Desc Main
                                                                CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                             Document        Page 8 of 8
CASE INFO                                EXCLUDE                                  21ST MORTGAGE
1LABEL MATRIX FOR LOCAL NOTICING         DULUTH                                   PO BOX 477
08645                                    404 US COURTHOUSE                        KNOXVILLE TN 37901-0477
CASE 13-50747                            515 WEST FIRST STREET
DISTRICT OF MINNESOTA                    DULUTH MN 55802-1302
DULUTH
WED JAN 2 15-41-08 CST 2019



CAPITAL ONE                              US BANK                                  CAPITAL ONE BANK USA NA
PO BOX 30285                             PO BOX 5229                              PO BOX 71083
SALT LAKE CITY UT 84130-0285             CINCINNATI OH 45201-5229                 CHARLOTTE NC 28272-1083




CAPITAL ONE NA                           ESSENTIA HEALTH                          ESSENTIA HEALTH
CO BECKET AND LEE LLP                    502 EAST SECOND STREET                   PO BOX 64618
PO BOX 3001                              DULUTH MN 55805-1913                     MINNEAPOLIS MN 55164-0618
MALVERN PA 19355-0701




FIFTH THIRD BANK                         HERMANTOWN FEDERAL CREDIT UNION          KOHLS
MD ROPS05 BANKRUPTCY DEPT                4477 LAVAQUE RD                          PO BOX 2983
1850 EAST PARIS SE                       HERMANTOWN MN 55811-1318                 MILWAUKEE WI 53201-2983
GRAND RAPIDS MI 49546-6253




MAYO CLINIC                              MN DEPARTMENT OF REVENUE                 PAYPAL BUYER CREDIT
PO BOX 790127                            BANKRUPTCY DEPARTMENT                    PO BOX 981064
ST LOUIS MO 63179-0127                   PO BOX 6447                              EL PASO TX 79998-1064
                                         ST PAUL MN 55106




                                                                                  EXCLUDE
PORTFOLIO RECOVERY ASSOCIATES LLC        US BANK HOME MORTGAGE
PO BOX 41067                             PO BOX 20005                             US TRUSTEE
NORFOLK VA 23541-1067                    OWENSBORO KY 42304-0005                  1015 US COURTHOUSE
                                                                                  300 S 4TH ST
                                                                                  MINNEAPOLIS MN 55415-3070




WELLS FARGO AUTO FINANCE                 WELLS FARGO FINANCIAL CARDS              WELLS FARGO BANK NA
PO BOX 29746                             PO BOX 14487                             PO BOX 10438
PHOENIX AZ 85038-9746                    DES MOINES IA 50306-3487                 DES MOINES IA 50306-0438




DEBTOR                                                                            EXCLUDE
                                         LYNN M MOEN
GERALD L MOEN                            6630 GRAND AVENUE                        NAUNI JO MANTY
6630 GRAND AVENUE                        DULUTH MN 55807-2235                     MANTY ASSOCIATES PA
DULUTH MN 55807-2235                                                              401 SECOND AVENUE NORTH
                                                                                  SUITE 400
                                                                                  MINNEAPOLIS MN 55401-2097



EXCLUDE
YVONNE M NOVAK
YMN LAW
202 W SUPERIOR STREET
SUITE 303
DULUTH MN 55802-1971
